                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO



PHILLIP C. TRAVAGLIANTE,                       )      CASE NO. 1:17 CV 66
                                               )
               Plaintiff,                      )      JUDGE JAMES S. GWIN
                                               )
         v.                                    )      OPINION & ORDER
                                               )
MEDINA COUNTY COURTS,                          )
                                               )
               Defendant.                      )


       Plaintiff pro se Phillip C. Travagliante brings this 42 U.S.C. § 1983 action against

Defendant “Medina County Courts.” His one-page complaint states he sought protection on

January 10, 2017 from Defendant - the same date this action was filed - for himself and his

minor children against abuse by his spouse and her “possible sex offender boyfriend.” Plaintiff

seeks $100 million in damages.

       A cause of action fails to state a claim upon which relief may be granted when it lack

“plausibility in the complaint.” Bell At. Corp. v. Twombly, 550 U.S. 544, 564 (2007). A

pleading must contain a “short and plain statement of the claim showing that the pleader is

entitled to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 677-78 (2009). The factual allegations in the

pleading must be sufficient to raise the right to relief above the speculative level on the

assumption that all the allegations in the pleading are true. Twombly, 550 U.S. at 555. The

plaintiff is not required to include detailed factual allegations, but the complaint must provide
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more than “an unadorned, the-defendant-unlawfully-harmed-me accusation.”            Iqbal, 556 U.S. at

678 (2009). A pleading that offers legal conclusions or a simple recitation of the elements of a

cause of action will not meet this pleading standard. Id.

        Principles requiring generous construction of pro se pleadings are not without limits.

Beaudett v. City of Hampton, 775 F.2d 1274, 1277 (4th Cir. 1985). A complaint must contain

either direct or inferential allegations respecting all the material elements of some viable legal

theory to satisfy federal notice pleading requirements. See Schied v. Fanny Farmer Candy

Shops, Inc., 859 F.2d 434, 437 (6th Cir. 1988). District courts are not required to conjure up

questions never squarely presented to them or to construct full blown claims from sentence

fragments. Beaudette, 775 F.2d at 1278. To do so would "require ...[the courts] to explore

exhaustively all potential claims of a pro se plaintiff, ... [and] would...transform the district court

from its legitimate advisory role to the improper role of an advocate seeking out the strongest

arguments and most successful strategies for a party." Id.

        Even construing the Complaint liberally in a light most favorable to the Plaintiff, Brand

v. Motley, 526 F.3d 921, 924 (6th Cir. 2008), it does not contain allegations reasonably

suggesting he might have a valid federal claim, or even that there is a arguable basis for this

Court’s jurisdiction. This case is therefore appropriately subject to summary dismissal. Apple v.

Glenn, 183 F.3d 477 (6th Cir. 1999); see, Hagans v. Lavine, 415 U.S. 528, 536-37 (1974) (citing

numerous Supreme Court cases for the proposition that attenuated or unsubstantial claims divest

the district court of jurisdiction); see also, In re Bendectin Litig., 857 F.2d 290, 300 (6th

Cir.1988)(recognizing that federal question jurisdiction is divested by unsubstantial claims).




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       Accordingly, this action is dismissed.

       IT IS SO ORDERED.



Dated: January 19, 2017                               s/  James S. Gwin
                                                      JAMES S. GWIN
                                                      UNITED STATES DISTRICT JUDGE




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